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         August 19, 2022

         Via ECF and Email

         To:     Natalya Rutchyk
                 Paul Anderson Gilmer
                 Wong, Wong & Associates
                 150 Broadway, Suite 1588
                 New York, NY 10038

         Re:       Gao v. Yu et al., Civil Action No. 1:21-cv-06308-DG-MMH



 Dear Ms. Rutchyk and Mr. Gilmer,

        As you know, we represent Defendants Emily Yu (“Ms. Yu”) and Windsor Sullivan
 Property Inc. (“WSP”) in the above-referenced case. We are writing to serve you with the
 following documents in support of Defendants’ Motion to Dismiss Plaintiff’s First Amended
 Complaint.

     •    Notice of Motion;
     •    Yu Declaration in Support of Defendants’ Motion to Dismiss;
     •    Thompson Declaration in Support, with annexed Exhibits A through H;
     •    Defendants’ Memorandum of Law in Support.

 Pursuant to Judge Gujarati’s Individual Rules, Section 3(B), Plaintiffs will refrain from filing
 these papers until the motion is fully briefed. Only a copy of this letter will be filed.



                                                      Sincerely,

                                                      ___________________
                                                      John J. Thompson, Esq.
                                                      THOMPSON & SKRABANEK, PLLC
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